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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Alvaro Gomez
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                   )   Case No.: 2:07-CR-00248-07-WBS
 8   UNITED STATES OF AMERICA,                     )
                                                   )   STIPULATION AND ORDER TO
 9                 Plaintiff,                      )   CONTINUE JUDGMENT AND
                                                   )   SENTENCING
10       v.                                        )
     ALVARO GOMEZ,                                 )   Date:  August 6, 2012
11                                                 )   Time: 9:30 a.m.
                   Defendant.                      )   Judge: Hon. William B. Shubb
12                                                 )
13
14          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15   Judgment and Sentencing scheduled for June 11, 2012, at 9:00 a.m. is continued to
16   August 6, 2012, at 9:30 a.m. in the same courtroom. Jason Hitt, Assistant United States
17   Attorney, and Thomas A. Johnson, Defendant’s attorney, both agree to this continuance.
18   The parties have also agreed that the due date to submit a reply to the filed objections to
19   the PSR will be continued to July 30, 2012.
20
21   IT IS SO STIPULATED.
22
23   DATED: June 6, 2012                By:             /s/ Thomas A. Johnson_____
                                                        THOMAS A. JOHNSON
24                                                      Attorney for Defendant
                                                        ALVARO GOMEZ
25
26   DATED: June 6, 2012                                BENJAMIN WAGNER
                                                        United States Attorney
27
                                                By:     /s/ Thomas A. Johnson for_
28                                                      Jason Hitt
                                                        Assistant U.S. Attorney


                                STIPULATION AND ORDER                -1-
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 1   IT IS SO ORDERED.
 2
     Dated: June 7, 2012
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                           STIPULATION AND ORDER         -2-
